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 8                                    UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                         No. 2:19-CR-00107-KJM
12                       Plaintiff,
13           v.                                         ORDER
14    RONALD YANDELL, et al.,
15                       Defendants.
16

17                  The court heard argument on the government’s motion to require defendants to

18   appear by videoconferencing at all non-critical stage proceedings on October 23, 2019. The

19   government attached as Exhibit K to its motion documents purporting to show defendants housed

20   at the Sacramento County Jail have, inter alia, inquired about the details of the jail’s locks and

21   U.S. Marshals’ prisoner transport practices, made ropes and discussed smuggling contraband into

22   the jail. Exhibit K is not accompanied by an authenticating declaration, and defendants requested

23   an evidentiary hearing on its contents in their reply brief. Reply at 4, ECF No. 196. Having not

24   had the opportunity to respond to the hearing request in its opposition, the government asserted

25   the Federal Rules of Evidence do not apply to evidence the court considers in deciding whether

26   to require defendants to appear by videoconference.

27                  “[A] trial judge has wide discretion to decide whether increased security measures

28   are required when dealing with a defendant who has a propensity for violence.” United States v.
                                                        1
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 1   Cazares, 788 F.3d 956, 966 (9th Cir. 2015) (citing Morgan v. Bunnell, 24 F.3d 49, 51 (9th Cir.
 2   1994)). In exercising its discretion, the trial court “must be persuaded by compelling
 3   circumstances ‘that some measure was needed to maintain the security of the courtroom.’ Second
 4   the court ‘must pursue less restrictive alternatives before imposing physical restraints.’” Jones v.
 5   Meyer, 899 F.2d 883, 885 (9th Cir. 1990) (quoting Spain v. Rushen, 883 F.2d 712, 716 (9th Cir
 6   1989)). In evaluating whether to impose a security measure based on a defendant’s conduct that
 7   occurred outside of the presence of the court,
 8                   ‘sufficient evidence of that conduct must be presented on the record
                     so that the court may make its own determination of the nature and
 9                   seriousness of the conduct and whether there is a manifest need for
                     such restraints; the court may not simply rely upon the judgment of
10                   law enforcement officers or court security officers or the
                     unsubstantiated comments of others.’
11

12   Gonzalez v. Pliler, 341 F.3d 897, 902 (9th Cir. 2003) (quoting People v. Mar, 28 Cal. 4th 1201,
13   1221 (2002)).
14                   Here, if accorded weight, Exhibit K appears to show defendants housed at the
15   Sacramento County Jail pose a risk of escape or at the very least disruption of their custodial
16   arrangements or their secure transport to court. However, the document contains extensive
17   redactions, which were not approved by the court; this aspect of the filing itself leaves the court,
18   at present, unable to find “circumstantial guarantees of trustworthiness” satisfied. Federal Rules
19   of Evidence 807(a)(1).
20                   In citing to the Federal Rules of Evidence, the court notes the Rules do apply in
21   criminal cases and proceedings, with the exception of preliminary determinations of admissibility,
22   grand jury proceedings, miscellaneous proceedings and exceptions created by statute. Fed. R.
23   Evid. 1101(b), (d), (e). Because the government’s videoconferencing motion is not brought under
24   any statute, no statutory exception applies. The videoconferencing motion also is not one of the
25   “miscellaneous proceedings”1 enumerated in the Rule. While the list of enumerated proceedings
26   1
       Miscellaneous proceedings identified in the Rule include “extradition or rendition; issuing an
27   arrest warrant, criminal summons, or search warrant; a preliminary examination in a criminal
     case; sentencing; granting or revoking probation or supervised release; and considering whether
28   to release on bail or otherwise.” Fed. R. Evid. 1101(d)(3).
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 1   is non-exclusive, the court declines to extend an exception from the rules of evidence to the
 2   evidence offered in support of the pending motion.
 3                  In light of the foregoing, the court provides the government an opportunity to
 4   make a supplemental filing demonstrating, if it can, the admissibility of Exhibit K in support of
 5   its motion to require videoconference appearance at non-critical proceedings. ECF No. 144-11.
 6   Any filing shall include an unredacted version of the document that may be delivered to chambers
 7   in the first instance, to be considered for permanent sealing under the prior joint request to seal
 8   documents, ECF No. 159. It also shall include a declaration authenticating the documents
 9   comprising Exhibit K.
10                  IT IS SO ORDERED.
11   DATED: October 28, 2019.
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                                                 UNITED STATES DISTRICT JUDGE
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